        Case 8:07-cr-00137-JSM-AEP Document 145 Filed 12/12/07 Page 1 of 6 PageID 362
A 0 245B (Rev 06/05) Sheet 1 - Judgment in a Criminal Case


                            UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       -
                                                       TAMPA DIVISION



UNITED STATES OF AMERICA                                       JUDGMENT W A CIUMINAL CASE
                                                                CASE NUMBER: 8:07-cr-137-T-30MSS
                                                                USM NUMBER: 49408-01 8
VS.




                                                                Defendant's Attorney: John A. Stanton, ret.

THE DEFENDANT:

-
X pleaded gudty to count(s) ONE and THREE of the Indictment.
- pleaded nolo contendere to count(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.

TITLE & SECTION                     NATURE OF OFFENSE                             OFFENSE ENDED                     COUNT
21 U.S.C. 5 841(b)(l)(A)            Consprracy to Possess With Intent to          April 4,2007                        One
                                    Distribute Five Kilograms or More of
                                    Cocaine

18 U.S.C. 5924 (c)                  Carrying a Firearm in Furtherance of a        April 4,2007                        Three
                                    Drug Trafficking Crime

        The defendant 1s sentencedasprovided in pages 2 through6of t h ~judgment.
                                                                         s        The sentence IS unposed pursuant to the Sentencmg
Reform Act of 1984

- The defendant has been found not w l t y on count(s)
-
X Count(s) TWO of the Ind~ctmentIS dismissed on the motion of the United States

IT I S FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in econornlc
circumstances.


                                                                                  Date of Imposibon of Sentence: December 11,2007




                                                                                  DATE: December     /2/,2007
         Case 8:07-cr-00137-JSM-AEP Document 145 Filed 12/12/07 Page 2 of 6 PageID 363
A 0 345B (Re\, 06/05) Shect 2 - Imprisonment (Judgrncnt in a Criminal Case)
Defendant:         JUAN ORTIZ                                                                                      Judgment - Page 2of 6
Case No.:          8:07-cr-1 37-T-30MSS




        After considering the advisory sentencing guidelines and all of the factors idcntiliecl in Title 18 IT.S.C', 5s
3553(a)(l)-(7), the court tincls that tile sentelice imposed is sufficient, but not greater that1 necessary, to comply with
the statutory purposes ot'sentcnci~ig.


         The defendant is hereby committed to the custody of tlie ITnitecI States Bureau of Prisons to be imprisoned f'or
a total term of ONE HUNDRED and EIGHTY (180) MONTHS. ONE HUNDRED and TWENT\' (120) YIOSTHS
as to each of' Count One of the Indictrilent and SIXTY (60) hlONTHS as to C'ount Three of the Intlictnlent. to be
served consecuti\.el?; to Count One of the Indictment.




                                                to the Bureau of Prisons: I'he defendant shall be placed at FCI ('nlenlan
X The court nlakes the Sollowii~greco~lli~le~~datiol~s
-
(FL), if possible. The defendant shall participate in the 500 hour intensive drug treatment psogam while incarcerated.



X The defendant IS remanded to the custody of the Lnited States Marshal.
-
- Thc dcfendmt shall 5uncndc.r to the Un~tedStates Marshal for this district.

          - at - a.m./p.rn. on -.
          - as notified by the United States hh-shal.

- The defendant shall surrender for service of scntencc at thc institution designated by lhe Bureau of Prisons.
          - bcfore 2 p.m. on -.
          - as noti tied by thc Unitcd States Marshal.
             as notified by thc J'robation or Pretrial Services Oflicc.




                                                                          RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                to
- at                                                                      , with a certiiied copy of this j ~ i d ~ m e n t .


                                                                                     United States Marshal

                                                                           By:
                                                                                               Deputy United States Marshal
         Case 8:07-cr-00137-JSM-AEP Document 145 Filed 12/12/07 Page 3 of 6 PageID 364
. A 0 215 B (Re\.. 06!05 ) Sheet 3 - Supervised Kclease (Judgment In a Crimnal Case)

Dcfendant:           .1L'AK ORTIZ                                                                                   Judgnicnt - P a ~ 3
                                                                                                                                      e o f 6
Case YO.:            8:07-cr- 1 3?-T-3Oh,lSS
                                                            SlTPERVISED 1UZLE.ASE:

                                                          t . d e f e n d a n t sliall b e o n supervised release f o r a t e r m of FIVE (5) YEARS as to each
        U p o n release f r o m i m p r i s o l ~ i ~ c nthe
of Counts One and Tlirec of tlie I n d i c t m e n t , to b e s e r v e d c o n c u r r e n t l y t o e a c h othcr.

         T h e defendant itlust report t o the probation oftice in the district to which the dcfendant is released within 72 hours o f release from
thc custody o r the Bureau of Prisons.

T h e defendant shall not c o ~ l m i another
                                      t                                                        shall not unlanfully possess a conrrolled s u b ~ t a ~ l c e
                                              federal, state, or local crime. T h e clcfe~~cirint
T h e defendant shall refrain froin any uinla\vhl use o f a controlled substance. 'The delkmlant shall sublnit to one drug test w ~ t h i n15 days
of release from imprisonmenl and at least t w o periodic drug tests thereafter. a s detcrnlined by the court.

          T h e defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

          T h e defimlalit shall cooperate in the collection of D L 4 as directed bj. the prohation officer


            If this judgment imposes a fine or restitution it is a condition o f supen.iseil release that the defendant pay in aczordancc u i t h the
            Schedule ol'Payments sheet of this judgment.

            T h e defendant must comply with the standard conditions that have b e e n adopted b y this court as \wll as with a n y a d d i t ~ o n a l
            collditions o n thc attached page.



            the defendant shall not leave the judicial district without the permission of the court or probation officer;

            the dcfendant shall report to the probation ofticer and shall submit a truthful and coniplete written rcport within the first fivc days of each
            lnollth;

            the defendant shall answcr truthfully all inquiries by the probation ofticer and follow the instructions of the probation o!-ficcr;

            the dcfcndan: s!1:111 support 111sor her dcpc'ndcnt~a ~ l dm e t other family rcspons~bllitics;

            the dcfcndant shall ~vorkregularly at rl lawful occupation. imlcss escuscd b ~ the
                                                                                           r probation officer for school~ng,tralnlng, or other
            acceptable reasons:

            tlie dcfendant shall notify the probatton officer at least ten days prior to any change in residence or cmploynicnt;

            the defendant shall rc'frain from excessi~euse of alcohol and shall not purchase, poiscss, use, distribute, or adniinlster any conirolled
            substance or an.; pa~aplicrndiarelated to any controlled substanccs, except :IS prcscril3ed by a physician;

            the dtfcndant shall rot frequent places \vliere controlled substanccs arc illegally sold, used. distributed, or adniln~stercd.

            the defendant shall not associate \vith any persons engaged in crimnal activ~tyand shdl not assoc1,ite \\,~thm y person conv~ctcdo i a
            felony, unless granted permission to do so by the probation officer;

            the defendant shall permit a probation oficer to visit him or her at any time :~tlionie or clscwhere and slid1 pcrni~tcunfiscat~onoTan!
            contraband observed i n plain view of the probation officer;

            the dcfi.nd:int shall nolify the probation officer. \4,ilhin scventy-two hours of bung arrcstd or ques11011edby ;i I;IW cntirr-cctncn~offices,

            the dcfcndant shall not enter into any agreement to act as an ~nforrneror a special agcnt of a law enlot-ccnient spicy \v~thoi~t
                                                                                                                                          thc
            permission o f the cour~;and

            as dircctcd by the probation officcr, the defendant shall notify third part~esof risks that may be ocuas~oneciby the dcfendmt's m m ~ n a rlccorcl
            or personal history or characteristics and shall pcm7it tht probation officcr to makc such not~ficat~onc       arid ro confirm the dcfcncianr's
            conipl~a~ice with such norification rcquircment.
       Case 8:07-cr-00137-JSM-AEP Document 145 Filed 12/12/07 Page 4 of 6 PageID 365
A 0 245B (Rcv. 06/05) Shect 3C - Supervised Releusc (Judgment in u Criminal Case)

Defendant:         J U A N ORTIZ
Case Yo.:          8:[,7-cr- 137-T-30MSS

                                        SPECIAL CONDITIOKS OF SUPER\'ISION

         The defendant shall also comply n'ith the following additional conditions of s~~pcrc+lsed
                                                                                               rclease:

         The defendant shall participate in a substance abuse program (outpatient an&or ~nparient)and follow r: probation officer's
         instructions regarding the implementation of this court directive. Further, the defendant shall be 1-equ1redto c o n t r ~ b u tlo~ thc
         costs of s e r ~ i c e sfor such treatment not to exceed an amount detenniwd reasonable b~ the P~obationOfficer's Sliding Scale for
         Substance Abusc 'L'reatment Seniccs. During anti upon completion of' thls program, the defendant is directed to subnut to
         random drug tssting.

         The dcl2ndunt shall submit to a search ofhis person, residence, place of business, any storage units uncle1 hls contl-01, or vehicle.
         coilducted by the Unitcd States Probation Officer at a reasonable timc and in a reasonable ma~mcr,based upon reasonable
         suspicion of contraband or evidence of a violation of a condition of release; failme to subnut to a search may be groul~dsfor
         revocation; the defendant shall infonil any other residents that the prsnlises may be subject to a search pursuant to this canditlun.

         The defmdant shall cooperate in the collection of DNA as directed by the probation officer

         The m;lnd.~torydrug testing provisions shall apply pursuant to the Iriolcnr C'rilne Con~rolAct. The ('ourt orders randoni dl-ug
         testing not to excecd 104 tests pcr year.
        Case 8:07-cr-00137-JSM-AEP Document 145 Filed 12/12/07 Page 5 of 6 PageID 366
A 0 215B (Rcv 0 6 ' 0 ) Sheet 5 - Criminal Monetary Penalties (.ludg~nent
                                                                        in a Cr~rn~nsl
                                                                                    ('ax)

Defendant:          JLI.4N OKTIZ                                                                           Judgment - Pase 5 of &
(lase No.:          8:07-cr- 137-T-30MSS

                                            CRIMINAL h;IONETr-\R17PENALTIES

          Th.: defendant must pay the total criminal monetary penal~iesmdei- the schedule of payments on Sheet 6.
                             I.issessn~en
                                        t                           Fine                         Total Restitution

          Totals:




-         The defendant imst make restitution (including community restitution) to the follou-ing payees in the amount listzd
          below.
          If the defendant makes a partial payment, each payee shall receive an appi.osimately proportioned payment, unless
          specified otherwise in the priority order or per-centage pqment colunln bclow. Ho\vever, pursuant to 18 [J.S.C. 5
          3664(i), all non-federal victi~nsmust be paid before the Cnited States.


I\;ame of Payee                                 Total Loss*                   l<estitution Ordered                   I'riorit y or I'erccn t aye




          Restitution mount ordered pursuant to plea agreement S
          The defendant must pay interest on 3 fine or restitution of more than $2,500, ~mlessthe restitution or fine is paid in f~lll
          before the flftesnth day after the date of'tlle judgment, pursuant to 1 I C.S.C. $ 36 1 2(f). All 01' the payment c~ptionson SI~cc't
          6 nlay be subjec~to penalties for delinquency and default, pursuant to 18 C.S.C. $ 36 13(g).

          Thc court dztcmlinetl that the deSend:rnt does ~ ohave
                                                             t \he ability to pay ~ n t z ~ ~and
                                                                                              . s t i t is ordered that:

         -          the intescst rcquiremcnt is u.aived for [he - tine - restitution.
         -          the interest ~.equirumentfor the - h e - restitution is modified as follows:


 ' Findings for th;. rota'. :t:nc~untof losses are required under Chapters 1 OgA. 1 10, 11OA, and 1 13A oCTitle 1 S for the offenscs cominittcd
on or artel- Scpten1bt.1 13, 1994, but before Aprll 23. 1996.
         Case 8:07-cr-00137-JSM-AEP Document 145 Filed 12/12/07 Page 6 of 6 PageID 367
A 0 245B (Re!. 06/05) Sheet o - Schedule of I'ayments (Judgment In a Cri~ninrllCase)

Ikfcndant:         JC-AK ORTIZ                                                                             Judgment - Page A of G
(:;:st2 SO.:       S:O;-cl.- I3 7-T-3OblSS



                                                     SCHEDULE OF PAk'Yl EXTS



, I iving asses;ed thc dcfcndmt's ability to pay, payment of the total crimin:d monetary penalties are duc a > ibllo~vs:

,I.       -
          X         I.u~npsum payment of $ 200.00 due immediately. balance due
                              -not later than                  , or

                              - in accordance - C, - D, -                 E or - F bclow; or
L3        -         Paj'nxnt to begin immediately (may be combined with -- C7                      L),or       F below): oi-




D.        -         Pajment in equal              (e.g.. weekly, monthly, quarterly) installments of S            o\ er a period of
                                , (e.g., months or years) to com~iience                   (e.g. 30 01- 60 days) atier relcasu ti-c)~n
                    imprisoninent to a tesm of supervision; or




F.        -         Special instructions regarding the paymenl of criminal ~ ~ O ~ I Cpenalties:
                                                                                       L~I-y




                                                                                                    nt.    oS m ~ n i n a m
Unless the court has csp-cssly ordered otherwise, if t h ~ jsudgnent imposes i ~ ~ ~ p r i s o n m sp:~ymrnt              l onttan
penalties is due during imprisonment. All criminal monetary penalties. cscept those payments ~ n n d ethrough the Federal
B~ireauof Prisons' Inmate Financial Responsibility Program, are ~ n s i l cto thc clerk of the ioul-t.
The defendant shall receive credit for all payments previously made toward any crimitml n1onet:u-y penalties imposed.

--        Joint and Scvcral
            Dei.=~:cian.and Ca-Dckndant Names and Case Numbers (including defendant number). Total Aniount. J O I I Iand
                                                                                                                      ~
S c \ w a l .\mount, end corresponding payee. if appropriate:


          The defendant shall yay the cost oi'psosccution.

-         The ddcndant shall pay the following court cost(s):
-
X         The d e f c n d ~ n sh;dl
                              t     forfeit the defendant's in tesest in t hs Ldloiving property to rhe Unltcd Statcs:
        The Court orders that the defendant i o r f ~ i to
                                                        t the ilnitcd Slaws imniediately and volunta~.ilyany and all :~sscts;ind
property, or portions thereat', subject to fbrfeiture, which are in the possession 01-control oftlie defendant or- the dcfcndant-5
nominees.
Payments shall be applied UI the followins order: ( 1 ) assessment, ( 2 ) restitution principal, (3) I-estih~tion
                                                                                                                interest, (1)fine principal. ( 5 )
rille inter&, (6) conlmunity I-estitution:(7) penalties, mt1 (8) costs. il~cludingcost of prosecution and court costs.
